                       Case TXE/4:23-cv-01104
                         BEFORE     THE UNITEDDocument 52 Filed
                                                   STATES       01/18/24 Page
                                                              JUDICIAL        1 of 2
                                                                          PANEL
                                               ON MULTIDISTRICT LITIGATION
          & Title - IN RE: ____________________________________________________
MDL No. ______                  5HDO(VWDWH&RPPLVVLRQ$QWLWUXVW/LWLJDWLRQ


                                                           NOTICE OF APPEARANCE
                                      (Appearances should only be entered in compliance with Rule 4.1(c).


PARTIES REPRESENTED (indicate plaintiff or defendant (i.e. Plaintiff Bob Jones)–If representation
includes more than one party, attach a separate list.)

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SHORT CASE CAPTION(s) (Include District and Civil Action No. (i.e. Jones v. Smith Corp., et al., D.
Delaware, 1:14-586)–If party representation includes more than one case, attach a schedule of actions)
NOTE: Include only actions in which you are entering an Appearance.

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        In compliance with Rule 4.1(c), R.P.J.P.M.L., 199 F.R.D. 425, 431 (2001), the following designated
attorney is authorized to receive service of all pleadings, notices, orders, and other papers relating to practice before
the United States Judicial Panel on Multidistrict Litigation on behalf of the plaintiff(s)/ defendant(s) indicated. I am
aware that only one attorney can be designated for each party.


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            _____________________________________________________________________________
                                       Date                                           Signature of Attorney or Designee


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Name and Address of Designated Attorney:@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
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Email Address: _________________________

Instructions:


1. From the JPML home page, download Notice of Appearance. Fill out form and save in .pdf format. (All documents filed with the Judicial Panel must be in PDF Format.)
The Appearance Form is to be filed as the main PDF document. Any documents submitted with the Appearance Form are attachments.
2. Select MDL from the menu bar at the top of the ECF screen.
3. Click on Notices. Select the appropriate Notice of Appearance. Select Next.
4. Enter the three or four digit MDL number (ex. 875). Select Next.
5. Verify MDL number, if correct Select Next.
6. Choose the case(s) for which the Appearance is being filed. Select Next.
7. Select Party. Select next twice.
8. Upload the Appearance Form as the Main document and all other documents as attachments. Be sure to choose a category and description. Select the document to which
the Appearance relates. (N ote: Appearances filed in new litigations will be linked to the initial Motion for Transfer and Appearances filed in transferred litigations should be
linked to the Conditional Transfer Order (CTO).
9. Select the next button and verify docket text. If correct continue to select next to complete the transaction.
                                                                                                                                                               JPML Form 18
         Case TXE/4:23-cv-01104 Document 52 Filed 01/18/24 Page 2 of 2




                               SCHEDULE OF ACTIONS

Attorney Frederic S. Fox of Kaplan Fox & Kilsheimer LLP, attorneys Julie Pettit and David B.
Urteago of The Pettit Law Firm and attorneys Michael K. Hurst, Chris Schwegmann, Yaman
Desai, and Jessica Cox of Lynn Pinker Hurst & Schwegmann, LLP have appeared in and represent
the below Plaintiffs in the following cases:

 Case and Docket Number        Court                 Parties Represented
 QJ Team, 4:23-cv-01013        E.D. Tex.             Plaintiff QJ Team, LLC
 QJ Team, 4:23-cv-01013        E.D. Tex.             Plaintiff Five Points Holdings, LLC
 Martin, 4:23-cv-01104         E.D. Tex.             Plaintiff Julie Martin
 Martin, 4:23-cv-01104         E.D. Tex.             Plaintiff Mark Adams
 Martin, 4:23-cv-01104         E.D. Tex.             Plaintiff Adelaida Matta
